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       Re: Case 4:23-cv-01037-O Association of Professional Ball Players of America v.
       Madison et al.
       and
       Case 1:23-cv-01534-RP Weinstein v. Madison


       To the Honorable Judge Presiding,

       Opposing Council, Mr. Fancher, has also been emailed the following:

       I am Pro Se, and the Plaintiffs are clearly attempting to benefit from my not having a
       lawyer yet and not knowing the court system. I respectfully submit what I’m able to here,
       as I’m severely handicapped and this filing is extremely hard on my worsening
       symptoms. All work is prohibited by my medical doctors.

   1. Motion For Dismissal, with prejudice, due to clear jurisdictional issue, with the APBPA
      being solely licensed in AZ and CA since 1924. Furthermore, all APBPA business
      licensing is currently lapsed and invalid with the IRS, and States of AZ and CA, due to
      Plaintiffs ongoing illegal obstruction of the legal APBPA Board Members, and
      overlapping civil rights court case with my current pending 2020 CA workers
      compensation case, where I’m deemed permanently disabled for life because of my
      catastrophic industrial injury, caused by Plaintiffs co-conspirator, my former boss with the
      APBPA from 2017-2018, Matt Hammons. I may be possibly fatally injured, per my
      medical doctors, and I am ordered absolutely not to stress or to do any work.

Please take into consideration that federal law enforcement charges are being pressed by the
legal APBPA Board Members, with prison time most likely occurring for all Plaintiffs listed and
their co-conspirators, due to their ongoing blatantly illegal conspiracy to hack into and steal the
APBPA, including these manipulative court cases, which are in malicious and illegal retaliation
for their being banned for their own malfeasance within the APBPA by the legal APBPA Board
Members and motivated by personal financial desperation, their illegally obstructing settlement
of my workers compensation case and my civil rights against the wishes of the legal Board
Members, their false claims of titles and positions within the APBPA, which they know they do
not hold as they weren’t hired or elected to them by the Board, which they’ve testified to, under
oath, in front of Judge Marmor, making knowingly false reports and accusations against APBPA
Board Members, including demanding a SWAT Team detain us while they searched for a rare
“framed Honus Wagner baseball card” worth over a million dollars that they know the APBPA
Board Members never had, making knowingly false statements to the AZ Attorney General to
have the APBPA property and passwords, and my personal property violently stolen from legal
Board Members, at assault rifle gunpoint with a SWAT team at my home, making knowingly
false statements to this Court, and their attempt to weaponize these court cases against me,
while I’m on required medical leave, and cannot stress, function, or communicate effectively,
and any work, including this, makes my symptoms worse, while seriously and willfully illegally
denying me my lawful income to afford a lawyer since 9/2021, and illegally obstructing my most
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recent fundraising for a lawyer per the APBPA Board Members’ requests. The IRS, Dept of
Justice, FBI, AZ Attorney General, Maricopa County District Attorney, Scottsdale Police, AZ
Liquor Board, and AZ Corporation Commission are involved.

   2. If not granted dismissal with prejudice, please grant a lengthy required continuance, due
      to serious, maybe fatal, worsening health issues of me, and two of the legal APBPA
      Board Members needed to testify, and as such, necessity for time for the legal APBPA
      Board Members to secure a lawyer for these cases. This required medical delay is at the
      request of APBPA Board Members Howie Bedell and Tony La Russa as well. They are
      not represented by Mr. Fancher, per their current statements, despite Mr, Fancher’s
      claims in his last filing. Mr. Fancher refuses, to date, to call Howie Bedell, at his and my
      request, so it is extremely alarming Mr. Fancher is assuming and listing that Howie is his
      client without speaking to him. Mr Fancher is not authorized to list Howie Bedell or Tony
      La Russa as his clients or to state that he or Peter Weinstein represent the APBPA, in
      any manner, as they were not hired by them or any other past or present legal APBPA
      Board Member. Tony La Russa has written a statement to that effect in the evidence file.

Consequently, 88 yr old Howie Bedell says the plaintiffs are bullying him and threatening “to
make it rough on him” and harassing him too while he’s dealing with life threatening health
conditions. He’s in full support of my workers comp benefits and medical rest. He will testify that
the Plaintiffs do not hold legal positions within the APBPA, as will Tony La Russa, who is also
fighting for his life but still responding to emails for the legal APBPA Board.

   3. Subpeona of pertinent correspondence and financial records from Plaintiffs please to
      help prove my case.

   4. Counterclaim of at least $10,000,000.00 for illegal retaliation, harassment, threatening,
      defamation, libel, slander, obstruction of my civil rights workers compensation claim filed
      7/27/2020, loss of enjoyment of life against all plaintiffs listed.


My medical doctors are adamant that according to their medical expertise, I must not do any
work or stress right now, and I must only rest due to my degenerative catastrophic injury to my
spine, neck, and brain that may be ultimately be fatal with my symptoms including worsening
breathing difficulty, heart arrhythmias, seeing static, difficulty communicating verbally, migraines
with visual symptoms, neuro fatigue exhaustion with effort, overall weakness, my hands not
working well, pain, and dizziness. I’m not even permitted to do prescribed physical therapy due
to how dangerous this worsening injury is with my heart arrhythmias per my physical therapist.

Any work, including this, is very dangerous to my health, per my doctors and health care
practitioners. Please have mercy to that fact.

The Plaintiffs will not let me rest medically since I filed for workers compensation 9/2020, and
that seems to be a sinister and malicious motive in this, other than financial gain, covering up
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that my injury happened because it was caused by their co conspirator, and retaliation for my
telling the truth, as a whistle blower, about the Plaintiffs, while they seek to silence me.

Please see in the evidence file where they say suing me like this is “fun” for them and they want
to “take everything I’ve got.” They’ve already forced me and my adult children to live in poverty
for years with no lawful benefits, due to their malicious and illegal retaliation, and false narrative
and smear campaign against an injured employee on medical leave and obstruction of my
workers comp case. These individuals, other than Matt Hammons, have no direct knowledge of
my work injury but still say they are “working with Travelers Insurance to defeat my workers
compensation claim.” The evidence of that from Peter Weinstein’s email to me is in the file.

I, and the legal APBPA Board, are trying to get a lawyer to represent me and the APBPA,
despite the fact that the plaintiffs have obstructed my workers comp benefits over 2.5 years
illegally, and they also recently blocked my and the legal Board’s attempt to fundraise for a
lawyer so I am penniless and have no assets.

The legal APBPA Board Members have been obstructed illegally by the Plaintiffs from accessing
APBPA funds to retain a lawyer or to fundraise for one which is what immediately spurred the
Plaintiffs malicious and retaliatory lawsuit to prohibit the APBPA Board from paying a lawyer to
oust them.

All statements and APBPA logo use by me was fully made at the request and requirement of the
legal APBPA Board members and assistance recipients who are facing homelessness, as am I,
due to the Plaintiffs blatant illegal obstruction of the APBPA Board members, my medical leave,
and my workers compensation benefits. The plaintiffs are not employed by or elected to the
APBPA Board, and are illegally and falsely claiming they are. The Plaintiffs are not permitted, by
law, to be making any legal claims regarding the APBPA logo.

For necessary understanding, my injury, from my former boss and the plaintiffs co conspirator,
incurred in the office during working hours and was reported by me in writing to my boss, the
following day after it happened, which is in the evidence file. The injury has squished me 1 and
¼ inches in height, and my surgeon is considering replacing the 3 misshapen vertebrate from
the impact, with cadaver vertebrate, which has my neck bent the wrong way internally and
crushing my vagus and phrenic nerves, which is what they believe is affecting my breathing and
heart rate.

Furthermore my doctors believe my butter- like consistency brain, with its delicate neurons, got
stretched and torn from slamming the top and the bottom of my skull upon impact for
perspective on what forces my body is trying to deal with and heal. My injury and symptoms
from my former boss and the plaintiffs co conspirator are gruesome, and I’m purposefully and
maliciously not being allowed to rest by my former boss who did this injury to me and his
cohorts.
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My former boss, Matt Hammons, said if I told anyone about my injury I would “be fired” so I
toughed through it for over 3 years until I collapsed in front of an umpire who was living with me
and was in the office the day my body fully stopped working.

The legal Board then allowed my medical leave and workers comp claim saying to “not throw in
the towel and stay with them as long as I could.” Please see the witness statements in the
evidence file from the APBPA Board lawyer Dan Fears regarding Matt Hammons in 2018 and
umpire Perry Barber.

Stress makes my terrifying symptoms markedly worse and my doctors have written the 2 new
attached reports stating that.

The opposing council, despite knowing about my catastrophic injury and vulnerable worsening
condition, and my and the legal APBPA Board asking for mercy and cooperation, has not been
at all civil, and are rude, threatening, aggressive, and showing no mercy in their correspondence
and phone calls which witnesses have witnessed. As such, my doctors have been
recommending that I may need to be inpatient hospitalized at this time due to my severe ptsd,
dizziness and stress migraines where I’m losing my center field of vision due to a blood flow
issue with my brain injury per my neuro optometrist.

My doctors say I’m at increased risk of a heart attack or stroke like this.


Moreover, I’ve been receiving written and phone called death threats from this opposing team
and also they’re expressing enjoyment about harassing me at my home, so I cannot possibly
rest medically or feel safe at all and with their requiring me to do work for these baseless and
malicious court cases against medical orders when it may be fatal for me.

I’m a single mom who is trying to spend whatever time I have left due to my industrial injury with
my children and this stress is making me worse. When I’ve requested they please stop
contacting me and only contact me through the court or a lawyer if I can get one they won’t stop
contacting me even though I’ve told them it is clear harassment at this point.

This illegal team has also seriously and willfully, in retaliation, illegally denied my workers
compensation benefits for almost 3.5 years now, with no personal knowledge of my injury, so
I’ve had no income and am fighting foreclosure of my home. The legal APBPA Board Members
fully support my getting workers compensation benefits and full medical rest immediately.

I’ve been on required medically leave for my injury since 7/27/2020 but this illegal team sought
to use my injury as an opportunity to conspire to steal the nonprofit I work for against the legal
Board Members. All statements I have made are factual and the opposing team has lied and
maliciously slandered me for years on social media, podcasts, and in emails with the
responsible insurance company falsely and baselessly calling me a “crook, fraud, crazy, a faker,
etc.” They’ve maliciously destroyed my hard worked for reputation with falsehoods while I try not
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to die from this work injury. I’ve had a call with Dr. Williams and Dr Reynolds regarding this Mon,
Tuesday, and, Wednesday of this week and have scheduled appointments tomorrow with
Southwest Behavioral health trying to stabilize my servere ptsd from all these attacks from
formerly fired individuals within the APBPA who are malicious, vexatious , compassionless,
merciless, and retaliatory, These lawsuits are clear SLAPP retaliation lawsuits.

Despite my being cleared from all their false charges by the AZ Attorney General with a 6 month
audit and investigation, this team ignores that fact and repeats their lies to still try to curry favor
online with APBPA Members and the legal APBPA Board Members. The plaintiffs purposefully
did not tell the truth to the AZ AG and to the Court here which is easily provable as they weren’t
elected by the legal Board Members and were blacklisted for their malfeasance within the
APBPA prior.

The plaintiffs have done tremendous damage to me and the APBPA which is a 100 year old
nonprofit Babe Ruth and Lou Gehrig started that does such good for over 101,800 members.

As such, over 30 families are currently being illegally denied their monthly APBPA financial
assistance and one young man went homeless two days ago in LA over their Plaintiffs illegal
obstruction of the legal APBPA Board Members.

Nevertheless, this team has gotten so sinister, threatening, malicious, retaliatory, and cruel I
request a valid dismissal based on jurisdiction if allowed or a delay so that I may keep seeking a
lawyer to prove the facts in this case for me and the legal APBPA Board Members at their
request.

My health condition prohibits my stressing and I need to be shielded from the vicious
harassment of the Plaintiffs both online, on podcasts, and in the Courts. I cannot be required to
have phone calls with their council when they are rude, hostile, aggressive, raising their voices,
and threatening and not taking my doctors orders into consideration. This is so dangerous to my
health and they’re trying to use my seriously handicapped and injured condition to win in court
against me and the legal APBPA Board Members. I cannot possibly have a fair trial in my
injured and worsening condition.

All statements I’ve made online and in this case are factually true and at the direct request of
the legal APBPA Board Members who are begging me to stay on as an APBPA Board advisor in
any capacity I can since I’m the only one trained by Dick Beverage and the one who instilled all
the automation upgrades and new member programs including the brain injury program, mental
health and wellness, mentoring, bilingual, financial health education, nationwide coaching and
youth programs since I became employed by the APBPA since 2017 and legally elected their
President in December, 2019.

Also to note, if I and the legal APBPA Board may please hereby subpoena all the Plaintiff’s
correspondence with the legal APBPA Board Members, naturopath Dr. Jennifer Burns, the AZ
Attorney General, and Travelers Insurance to help prove my case to the Court. We also need to
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subpoena the APBPA Quickbooks from 9/2021-current, and all Plaintiff's social media posts,
personal financial records, and all emails, and text messages between the plaintiffs.

These Plaintiffs are not legally employed by the APBPA but are Kameron Loe, Peter Weinstein,
and Kevin Simmons, Et Al. and the requested disclosures will prove the facts in this case and
that the Plaintiffs’ claims are baseless, retaliatory, and malicious, with no merit.

I requested, in writing, the last recent, as of a few weeks ago letter from the Plaintiffs, to APBPA
Board Member Howie Bedell, which Howie says is clear false libel and defamation against me
to try to turn the legal Board against me, which they haven’t succeeded in doing, but Mr.
Fancher has still not produced it willingly. It allegedly contains serious and ludicrous false claims
against me that Bobby Grich, the APBPA former President was asked to resign because of false
allegations from me and that then somehow I strong armed former MLB players by insisting I
become President and serving their Board.

In actuality, the allegations against Mr. Grich were from Susan Hemond to MLB and our Board
regarding Mr. Grich hitting on her when she was “knowingly 16 years old and knowing very well
whose daughter she was” and from a female reporter who opened her mouth to ask Mr. Grich a
question and he allegedly stuck his tongue in her mouth against her will. Furthermore, Dick
Beverage told the Board that he was at a baseball game and the entire row of women in front of
him were discussing sleeping with Mr. Grich while he was married which concerned him and
then finally, Mr. Grich’s blatant embarrassment and sexualization of Maybelle Blair at the APBPA
annual dinner in front of her lawyer, Donna Cohen, was cause for Mr. Grich’s resignation
requested by the Board.

I was coerced, in front of witnesses, into becoming the President by Board Members at the time
Dick Beverage and Wes Parker who said the APBPA “needed a woman President and that it
had to be me” because of my dedicated and selfless service. I said no several times but they
wouldn’t take no for an answer. I feared I’d become a target as President, which apparently I
have, for those who lust after the power, prestige, and funding the APBPA provides after they
were validly blacklisted by the Board for clear malfeasance.

Howie Bedell and Tony La Russa are also facing grave, possibly fatal health concerns, and
request a full dismissal without prejudice or a delay until we are medically cleared to answer
these claims against me and the APBPA. The plaintiffs have told 88 yr old beloved Howie
repeatedly they’ll “make it rough on him” if he doesn’t go along with their illegal conspiracy to
steal the APBPA without being elected by the Board. Howie is not backing down from them, and
he supports me fully as does the rest of the APBPA Board in all statements I made in response
to this team’s bullying of us and their false claims they made online about me but he’s not in
good health either which they are trying to take clear advantage of with these vexatious court
cases.
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This team also told over 14,000 former baseball players online falsely that I’d stolen and
misappropriated funds from them, while doxxing my home address while I’m on necessary
medical leave, which leaves me feeling very unsafe in my own home when I’m needing to rest.

The Plaintiffs allegations of financial wrong doing have been completely proven false, which the
Plaintiffs know and have been shown the paperwork to prove it, but they willfully ignore facts,
and the opposite is true in that I donated, in writing, the over $100,000 the APBPA owed me in
overtime back pay from being on call 24/7 since 2017 and not being an exempt employee. My
claim was with Travelers insurance and Kameron Loe told the former pro ballplayers I was
“suing the APBPA” which is also false. The plaintiffs had the APBPA violently swatted on
knowingly false reports to weaponize the AZ Attorney General against the legal Board
Members. The APBPA, and I are cleared of all charges and these conspirators refuse to return
what they stole with false claims of APBPA employment when they are not elected by any legal
past or present APBPA Board Members.

They are committed to bullying, slandering, smear campaigning, and being ruthless when we
are fighting for our lives and they need to not be allowed to tortured dying people who are
elected and employed by law when they are not.

Please don’t allow any further harassment of me by them which is all this is.

I need to only rest but I’m being forced to find funding to pay for a lawyer, when these lawsuits
came from retaliation for our online raising of funds to get help for the Apbpa assistance cases
who are begging for help from this illegal hostile takeover attempt and shakedown of legal
APBPA Board Members.

We have thousands of additional docs of evidence against the Plaintiffs but need time to get
them uploaded if these cases against me and the APBPA continue. In my disabled condition I
cannot possibly do the work required myself and even writing and compiling this has made my
pain, breathing issues, heart arrhythmias, and dizziness worse.

Please excuse the screenshot of me wrapped in a towel in the evidence file as it is to display
the clear bruises on my arm from the Plaintiffs co conspirator, my former APBPA boss, Matt
Hammons who did the catastrophic industrial injury to me. This screenshot was when he
grabbed me out of my chair and shook me in the office in one of his frequent rages.

When I was getting ready for work I noticed in the mirror how clearly I could see the bruising
and wanted it documented for the file as the neighboring office workers had run in yelling at him
to “get off of me” and they called the police on him which resulted in the landlord of the office
buildings lodging a complaint against the APBPA and Matt moving the APBPA office to his home
without permission from the Board.

To date, the Plaintiffs are publicly stating that they are working in conjunction with Matt
Hammons who has made death threats against me and the Board for years and this is his
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second time attempting to utilize the AZ AG illegally with knowingly false reports in retaliation for
his 2018 valid Board firing. Please see APBPA Board position statement on Matt Hammons and
how dangerous the APBPA Board has deemed him to be.

When I was swatted at assault rifle gunpoint with my family and rescue dogs illegally by the
plaintiffs on knowingly false reports they made up because the Board had blacklisted them for
their own blatant prior malfeasance within the APBPA, the first question agent Annalisa Madsen
asked me was, “Who is Matt?! Who is Matt?!”. He’s been stalking me for years with his threats
of retaliation.


In Conclusion, the Plaintiffs have no legal standing to claim employment or appointment by the
APBPA, and then play victim when the legal Board members, or advisory Board Members,
speak up about what they are legitimately doing illegally within the APBPA which is hurting over
101,800 members and their families currently.

Please help us stop their harassment. They are illegally stealing and embezzling APBPA funds
and claiming positions and titles they don’t hold legally currently while ignoring APBPA
assistance recipients correspondence and pleas for help.
When I requested in writing them to pause with my latest drs reports and the legal APBPA’s
Board demands that they return why they stole with false claims and lies to the AZ Ag, last
week, they instead sought default judgments due to my handicapped status and also
immediately harassed my primary care dr who is trying to save my life with my complex injury
where his legal team is now involved.

These lawyers refuse to speak with or cooperate with the legal APBPA Board Members civilly
and lawfully without threatening us and violently swatting us and saying that they’ll continue to
file knowingly false and vexatious lawsuits to further harass me at my home and deny me my
valid medical rest and civil rights with my valid workers comp claim.

Please see attached evidence file corroborating everything we are saying.

Thank you for your time in this matter.
Yours Very Truly,
Jennifer Madison-Pro Se

And on behalf of the the legal APBPA Board including:
Howie Bedell-*he’s currently requested that I stay on as an APBPA Board advisor

Tony La Russa-requesting medical leave for serious health issue

Eric Lenaburg
Lenny Randle
Ozzie Virgil Jr
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Rudy Arias
Dr. Reynolds- APBPA Medical Director

Board Advisors
Donna Cohen- Attorney-not retained in this case
Dan Rosquete-Attorney-not retained in this case
Perry Barber-Director of Women’s Services
Melissa Mayeaux-Co-Director of Women’s Services
Lou Konyha-Former Yankees Pitcher/APBPA Lifetime Member

Apbpa Assistance Recipients:
Dayle B Campbell
Dayle C Campbell
Mark Wulfemeyer
Ken Clawson
Perry Dunn
Diane Sawyer
Robert Bartlett
Arturo Bonitto
Byron Browne Sr
Byron Browne Jr
Tyrone Brooks
Greg Daniels
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*Please allow me additional time to upload the almost 400 exhibits against the plaintiffs as
they’re not uploading to the Court system and I’m not feeling well with the effort.
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